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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE



   GE HEALTHCARE BIO-SCIENCES AB, GE
   HEALTHCARE BIO-SCIENCES
   CORPORATION, and GENERAL
   ELECTRIC COMPANY,

                          Plaintiffs,

                          v.                             C.A. No. 18-1899-CFC

   BIO-RAD LABORATORIES, INC.,

                          Defendant.



                                        SCHEDULING ORDER

         This ___ day of ______, 2019, the Court having conducted an initial Rule 16(b)

  scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

  discussion that the matter cannot be resolved at this juncture by settlement, voluntary

  mediation, or binding arbitration:

         IT IS ORDERED that:

         1.      Rule 26(a)(1) Initial Disclosures. Unless otherwise agreed to by the parties, the

  parties shall make their initial disclosures required by Federal Rule of Civil Procedure

  26(a)(1) within five days of the date of this Order.

         2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

  parties, and to amend or supplement the pleadings, shall be filed on or before July 18, 2019.




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          3.        Discovery.

                 a. Discovery Cut Off. All discovery in this case shall be initiated so that it will be

  completed on or before April 16, 2020.

                 b. Document Production. Document production shall be completed on or before

  February 20, 2020.

                 c. Requests for Admission. A maximum of forty (40) requests for admission are

  permitted for each side.
             d. Interrogatories. A maximum of twenty-five (25) interrogatories,

  including contention interrogatories, are permitted for each side.

                 e. Depositions.

                        i. Limitation on Hours for Deposition Discovery. Each side is limited to a

  total of 70 hours taking testimony by deposition upon oral examination of 30(b)(1) and

  30(b)(6) witnesses. The parties may seek additional time for depositions requiring an

  interpreter.

                        ii. Location of Depositions. Any party or representative (officer, director, or

  managing agent) of a party filing a civil action in this District Court must ordinarily be required,

  upon request, to submit to a deposition at a place designated within this District. Exceptions to

  this general rule may be made by order of the Court or by agreement of the parties. A defendant

  who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be considered as

  having filed an action in this Court for the purpose of this provision.

          4.        Privilege. With respect to information generated after the filing of the complaint in

  GE Healthcare Bio-Sciences AB et al. v. Bio-Rad Laboratories, Inc., No. 2:14-cv-07080-LTS-SN

  (SDNY), parties are not required to include any such information in privilege logs, provided,

  however, that a party may request a log of certain communications alleged to be privileged that


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  were made after the SDNY filing date on an issue-by-issue basis if the party believes that there is

  a specific need to have a log of communications on that particular issue. Pursuant to Federal Rule

  of Evidence 502(d), the inadvertent production of privileged or work product protected

  documents is not a waiver in the pending case or in any other federal or state proceeding. When a

  party gives notice to another party that certain inadvertently produced documents are subject to a

  claim of privilege or other protection, the obligations of the other parties are those set forth in

  Federal Rule of Civil Procedure 26(b)(5)(B), except that a party will not use documents asserted

  to be attorney-client privileged or work product protected by another party to challenge the

  privilege or protection.

          5.      Specific E-Discovery Issues. Paragraph 5 of the Delaware Default Standard shall

  not apply to documents first produced in GE Healthcare Bio-Sciences AB et al. v. Bio-Rad

  Laboratories, Inc., No. 2:14-cv-07080-LTS-SN (SDNY), to the extent the parties agree such

  documents are deemed produced in this case.

          6.      Deadlines. To the extent deadlines in this order or in the Delaware Default

  Standard fall on a weekend or court holiday, such deadlines are extended to the following

  business day.

          7.      Application to Court for Protective Order. Should counsel find it will be

  necessary to apply to the Court for a protective order specifying terms and conditions for the

  disclosure of confidential information, counsel should confer and attempt to reach an agreement

  on a proposed form of order and submit it to the Court by April 19, 2019.

          Any proposed protective order must include the following paragraph:

                   Other Proceedings. By entering this Order and limiting the
                  disclosure of information in this case, the Court does not intend to
                  preclude another court from finding that information may be
                  relevant and subject to disclosure in another case. Any person or
                  party subject to this Order who becomes subject to a motion to


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                 disclose another party’s information designated as confidential
                 pursuant to this Order shall promptly notify that party of the
                 motion so that the party may have an opportunity to appear and be
                 heard on whether that information should be disclosed.

         8.      Disputes Relating to Discovery Matters and Protective Orders. Should counsel

  find they are unable to resolve a dispute relating to a discovery matter or protective order, the

  parties shall contact the Court’s Case Manager to schedule an in-person conference/argument.

  Unless otherwise ordered, by no later than 48 hours prior to the conference/argument, the party

  seeking relief shall file with the Court a letter, not to exceed three pages, outlining the issues in

  dispute and the party’s position on those issues. The party shall submit as attachments to its

  letter (1) an averment of counsel that the parties made a reasonable effort to resolve the dispute

  and that such effort included oral communication that involved Delaware counsel for the

  parties, and (2) a draft order for the Court’s signature which identifies with specificity the relief

  sought by the party. By no later than 24 hours prior to the conference/argument, any party

  opposing the application for relief may file a letter, not to exceed three pages, outlining that

  party’s reasons for its opposition. Two courtesy copies of the parties’ letters and attachments

  must be provided to the Court within one hour of e-filing the document(s). If a motion

  concerning a discovery matter or protective order is filed without leave of the Court, it will be

  denied without prejudice to the moving party’s right to bring the dispute to the Court through

  the procedures set forth in this paragraph.

         9.      Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to

  the Clerk an original and one copy of the papers. A redacted version of any sealed document

  shall be filed electronically within seven days of the filing of the sealed document.

         10.     Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

  briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,



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  appendices, exhibits, declarations, affidavits, etc.). This provision also applies to papers filed

  under seal.

         11.     Claim Construction Issue Identification. On or before September 12, 2019, the

  parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction.

  On or before September 26, 2019, the parties shall exchange a list and their proposed claim

  construction of those term(s)/phrase(s). This document will not be filed with the Court.

  Subsequent to exchanging those lists, the parties will meet and confer to prepare a Joint Claim

  Construction Chart to be filed no later than October 17, 2019. The Joint Claim Construction

  Chart, in Word format, shall be e-mailed simultaneously with filing to

  cfc_civil@ded.uscourts.gov. The text for the Joint Claim Construction Chart shall be 14-point

  and in Times New Roman or a similar typeface. The parties’ Joint Claim Construction Chart

  should identify for the Court the term(s)/phrase(s) of the claim(s) in issue and should include

  each party’s proposed construction of the disputed claim language with citation(s) only to the

  intrinsic evidence in support of their respective proposed constructions. A separate text-

  searchable PDF of each of the patent(s) in issue as well as those portions of the intrinsic record

  relied upon shall be submitted with this Joint Claim Construction Chart. In this joint submission,

  the parties shall not provide argument.

         12.     Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

  brief, not to exceed 5,500 words, on November 14, 2019. The Defendant shall serve, but not file,

  its answering brief, not to exceed 8,250 words, on December 12, 2019. The Plaintiff shall serve,

  but not file, its reply brief, not to exceed 5,500 words, on January 2, 2020. The Defendant shall

  serve, but not file, its sur-reply brief, not to exceed 2,750 words, on January 16, 2020. The text

  for each brief shall be 14-point and in Times New Roman or a similar typeface. Each brief must




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  include a certification by counsel that the brief complies with the type and number limitations set

  forth above. The person who prepares the certification may rely on the word count of the word-

  processing system used to prepare the brief.

         No later than January 30, 2020, the parties shall file a Joint Claim Construction Brief.

  The parties shall copy and paste their untitled briefs into one brief, with their positions on each

  claim term in sequential order, in substantially the form below.

                            JOINT CLAIM CONSTRUCTION BRIEF

  I.     Agreed-upon Constructions

  II.    Disputed Constructions

         A.      [TERM 1]

                 1.      Plaintiff’s Opening Position
                 2.      Defendant’s Answering Position
                 3.      Plaintiff’s Reply Position
                 4.      Defendant’s Sur-Reply Position

         B.      [TERM 2]

                 1.      Plaintiff’s Opening Position
                 2.      Defendant’s Answering Position
                 3.      Plaintiff’s Reply Position
                 4.      Defendant’s Sur-Reply Position

  The parties need not include any general summaries of the law relating to claim construction. If

  there are any materials that would be submitted in an appendix, the parties shall submit them in

  a Joint Appendix.

         13.     Hearing on Claim Construction. Beginning at ___ on February ___, 2020 the

  Court will hear argument on claim construction. Absent prior approval of the Court (which,

  if it is sought, must be done by joint letter submission no later than the date on which




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  answering claim construction briefs are due to be served), the parties shall not present

  testimony at the argument, and the argument shall not exceed a total of three hours.

          14.      Disclosure of Expert Testimony.

                a. Expert Reports. For the party who has the initial burden of proof on the subject

  matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before June

  4, 2020. The supplemental disclosure to contradict or rebut evidence on the same matter

  identified by another party is due on or before July 2, 2020. Reply expert reports from the party

  with the initial burden of proof are due on or before July 30, 2020. No other expert reports will

  be permitted without either the consent of all parties or leave of the Court. Along with the

  submissions of the expert reports, the parties shall advise of the dates and times of their experts’

  availability for deposition. Depositions of experts shall be completed on or before August 27,

  2020.

                b. Objections to Expert Testimony. To the extent any objection to expert testimony

  is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

  579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by motion no later

  than the deadline for dispositive motions set forth herein, unless otherwise ordered by the Court.

          15.      Case Dispositive Motions.

                a. No early motions without leave. All case dispositive motions, an opening brief,

  and affidavits, if any, in support of the motion shall be served and filed on or before October 1,

  2020. Responsive briefs and supporting affidavits, if any, shall be served and filed 28 days after

  opening briefs. Reply briefs and supporting affidavits, if any, shall be served and filed 14 days

  after responsive briefs. No case dispositive motion under Rule 56 may be filed more than ten

  days before the above date without leave of the Court.




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              b. Word limits combined with Daubert motion word limits. Each party is permitted

  to file as many case dispositive motions as desired; provided, however, that each SIDE will be

  limited to a combined total of 10,000 words for all opening briefs, a combined total of 10,000

  words for all answering briefs, and a combined total of 5,000 words for all reply briefs

  regardless of the number of case dispositive motions that are filed. In the event that a party

  files, in addition to a case dispositive motion, a Daubert motion to exclude or preclude all or

  any portion of an expert’s testimony, the total amount of words permitted for all case

  dispositive and Daubert motions shall be increased to 12,500 words for all opening briefs,

  12,500 words for all answering briefs, and 6,250 words for all reply briefs for each SIDE. The

  text for each brief shall be 14-point and in Times New Roman or a similar typeface. Each brief

  must include a certification by counsel that the brief complies with the type and number

  limitations set forth above. The person who prepares the certification may rely on the word

  count of the word-processing system used to prepare the brief.

             c. Concise Statement of Facts Requirement. Any motion for summary judgment

  shall be accompanied by a separate concise statement detailing each material fact as to which the

  moving party contends that there are no genuine issues to be tried that are essential for the

  Court’s determination of the summary judgment motion (not the entire case). Any party who

  opposes the motion shall file and serve with its opposing papers a separate document containing

  a single concise statement that admits or disputes the facts set forth in the moving party’s concise

  statement, as well as sets forth all material facts as to which it is contended there exists a genuine

  issue necessary to be litigated.

             d. Focus of the Concise Statement. When preparing the separate concise statement, a

  party shall reference only the material facts that are absolutely necessary for the Court to




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  determine the limited issues presented in the motion for summary judgment (and no others), and

  each reference shall contain a citation to a particular affidavit, deposition, or other document that

  supports the party’s interpretation of the material fact. Documents referenced in the concise

  statement may, but need not, be filed in their entirety if a party concludes that the full context

  would be helpful to the Court (e.g., a deposition miniscript with an index stating what pages may

  contain key words may often be useful). The concise statement shall particularly identify the

  page and portion of the page of the document referenced. The document referred to shall have

  relevant portions highlighted or otherwise emphasized. The parties may extract and highlight the

  relevant portions of each referenced document, but shall ensure that enough of a document is

  attached to put the matter in context. If a party determines that an entire deposition transcript

  should be submitted, the party should consider whether a miniscript would be preferable to a

  full-size transcript. If an entire miniscript is submitted, the index of terms appearing in the

  transcript must be included, if it exists. When multiple pages from a single document are

  submitted, the pages shall be grouped in a single exhibit.

              e. Word Limits for Concise Statement. The concise statement in support of or in

  opposition to a motion for summary judgment shall be no longer than 1,500 words. The text for

  each statement shall be 14-point and in Times New Roman or a similar typeface. Each statement

  must include a certification by counsel that the statement complies with the type and number

  limitations set forth above. The person who prepares the certification may rely on the word count

  of the word-processing system used to prepare the statement.

              f. Affidavits and declarations. Affidavits or declarations setting forth facts and/or

  authenticating exhibits, as well as exhibits themselves, shall be attached only to the concise

  statement (i.e., not briefs).




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                g. Scope of Judicial Review. When resolving motions for summary judgment, the

   Court shall have no independent duty to search and consider any part of the record not otherwise

   referenced in the separate concise statements of the parties. Further, the Court shall have no

   independent duty to review exhibits in their entirety, but rather will review only those portions of

   the exhibits specifically identified in the concise statements. Material facts set forth in the

   moving party’s concise statement will be deemed admitted unless controverted by a separate

   concise statement of the opposing party.

          16.      Applications by Motion. Except as otherwise specified herein, any application to

   the Court shall be by written motion. Any non-dispositive motion should contain the statement

   required by Local Rule 7.1.1.

          17.      Pretrial Conference. On February ____, 2021 the Court will hold a Rule 16(e)

   final pretrial conference in court with counsel beginning at ____. The parties shall file a joint

   proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5:00 p.m. on the

   third business day before the date of the final pretrial conference. Unless otherwise ordered by

   the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d) for the

   preparation of the proposed joint final pretrial order.

          18.      Motions in Limine. Motions in limine shall not be separately filed. All in limine

   requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall

   be limited to three in limine requests, unless otherwise permitted by the Court. Each in limine

   request and any response shall contain the authorities relied upon; each in limine request may

   be supported by a maximum of three pages of argument and may be opposed by a maximum

   of three pages of argument, and the party making the in limine request may add a maximum of

   one additional page in reply in support of its request. If more than one party is supporting or




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   opposing an in limine request, such support or opposition shall be combined in a single three-

   page submission (and, if the moving party, a single one-page reply). No separate briefing shall

   be submitted on in limine requests, unless otherwise permitted by the Court.

            19.    Compendium of Cases. A party may submit with any briefing two courtesy

   copies of a compendium of the selected authorities on which the party would like the Court to

   focus. The parties should not include in the compendium authorities for general principles or

   uncontested points of law (e.g., the standards for summary judgment or claim construction).

   An authority that is cited only once by a party generally should not be included in the

   compendium. An authority already provided to the Court by another party should not be

   included in the compendium. Compendiums of cases shall not be filed electronically with the

   Court, but a notice of service of a compendium of cases shall be filed electronically with the

   Court.

            20.    Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be

   tried to a jury, pursuant to Local Rules 47.l(a)(2) and 51.1, the parties should file (i) proposed

   voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

   forms no later than 5:00 p.m. on the third business day before the date of the final pretrial

   conference. The parties shall submit simultaneously with filing each of the foregoing four

   documents in Word format to cfc_civil@ded.uscourts.gov.

            21.    Trial. This matter is scheduled for a 7-day jury trial beginning at ____ on

   March ____, 2021 with the subsequent trial days beginning at ______. Until the case is

   submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial

   will be timed, as counsel will be allocated a total number of hours in which to present their

   respective cases.




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          22.     ADR Process. This matter is referred to a magistrate judge to explore the

   possibility of alternative dispute resolution.



                                                    ___________________________________
                                                    UNITED STATES DISTRICT JUDGE




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                                       ATTACHMENT A

                        Event                                     Deadline
      Rule 26(a)(1) Initial Disclosures          Within 5 days
      Application to Court for Protective        April 19, 2019
      Order
      Joinder of Other Parties and Amendment     July 18, 2019
      of Pleadings
      Claim Construction Claim Terms             September 12, 2019
      Identification
      Claim Construction Identification of       September 26, 2019
      Proposed Constructions
      Joint Claim Construction Chart             October 17, 2019
      Service of Plaintiffs’ Opening Claim       November 14, 2019
      Construction Brief
      Service of Defendant’s Answering           December 12, 2019
      Claim Construction Brief
      Service of Plaintiffs’ Reply Claim         January 2, 2020
      Construction Brief
      Service of Defendant’s Sur-Reply Claim     January 16, 2020
      Construction Brief
      Filing of Joint Claim Construction Brief   January 30, 2020
      Claim Construction Hearing                 February 2020
      Document Production                        February 20, 2020
      Discovery Cut Off                          April 16, 2020
      Opening Expert Reports                     June 4, 2020
      Rebuttal Expert Reports                    July 2, 2020
      Reply Expert Reports                       July 30, 2020
      Expert Deposition Cut Off                  August 27, 2020
      Case Dispositive and Daubert Motions       October 1, 2020, responsive briefs 28
                                                 days after motions and for reply briefs
                                                 14 days after responsive briefs.
      Final Pretrial Conference                  February 2021
      Trial                                      7 day jury trial in March 2021




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